                Case 3:19-cv-21360-BRM-TJB Document 1 Filed 12/13/19 Page 1 of 1 PageID: 1

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        www.krot1firm.com                                               December 13, 2019
                                                                                                               BAR ADMISSIONS
                                                                                                                   t NJ & PA Bar
                                                                                                                   Nj &NY Bar
                                                                                                              5N] PA&DC Bar
              VIA ELECTRONIC FILING                                                                           •NJ,NY&DCBar
              Mr. William T. Walsh, Clerk                                                                     I NJ, NY & PA Bar

              United States District Court
              Clarkson S. fisher Building and United States Courthouse
              402 East State Street
              Trenton, New Jersey 08608

                        Re:       New Jersey Building Laborers’ Statewide Pension Fund and Trustees
                                  Thereof v. Hudson Valley Environmental, Inc.
                                  Civil Action No.: 19-

              Dear Mr. Walsh:

                      This Firm represents Plaintiffs New Jersey Building Laborers’ Statewide Pension fund
              and Trustees Thereof in connection with the above-referenced matter. Enclosed for filing
              please find the following documents:

                         (1)       Complaint;
                         (2)       Civil Cover Sheet;
                         (3)       Disclosure Statement.

                         Thank you for your attention to this matter.

                                                                        Very truly yours,

                                                                        5/SETH PTASIEWICZ

                                                                        SETH PTASIEWICZ

               SP:sm
               Enclosures

               cc:       Mary Castrovinci (via first class mail with enclosures)
                         Seth Kennedy, Esq. (with enclosures)
